              Case:19-17168-MER Doc#:1 Filed:08/20/19                                    Entered:08/20/19 09:46:38 Page1 of 48


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO, DENVER DIVISION

Case number (if known)                                                         Chapter you are filing under:

                                                                               Chapter 7
                                                                                Chapter 11
                                                                                Chapter 12
                                                                                Chapter 13                                        Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Ethel
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's          Ann
     license or passport).           Middle name                                                     Middle name
     Bring your picture
     identification to your meeting
                                    Moore
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years        Ethel Ann Recla
                                     Ethel Ann Scott
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-7854
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
             Case:19-17168-MER Doc#:1 Filed:08/20/19                                         Entered:08/20/19 09:46:38 Page2 of 48
Debtor 1   Moore, Ethel Ann                                                                               Case number (if known)




                                 About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      I have not used any business name or EINs.                        I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                                  Business name(s)
     doing business as names

                                 EINs                                                              EINs




5.   Where you live                                                                                If Debtor 2 lives at a different address:

                                 2819 Acrin Ave
                                 Grand Junction, CO 81503-3272
                                 Number, Street, City, State & ZIP Code                            Number, Street, City, State & ZIP Code

                                 Mesa
                                 County                                                            County

                                 If your mailing address is different from the one                 If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any         here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                           address.



                                 Number, P.O. Box, Street, City, State & ZIP Code                  Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                     Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other              Over the last 180 days before filing this petition, I have
                                        district.                                                          lived in this district longer than in any other district.

                                       I have another reason.                                            I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                   Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 2
             Case:19-17168-MER Doc#:1 Filed:08/20/19                                     Entered:08/20/19 09:46:38 Page3 of 48
Debtor 1    Moore, Ethel Ann                                                                               Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                   Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                   When                             Case number
                                             District                                   When                             Case number
                                             District                                   When                             Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known



11. Do you rent your
    residence?
                                  No.         Go to line 12.

                                   Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                        bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
             Case:19-17168-MER Doc#:1 Filed:08/20/19                                        Entered:08/20/19 09:46:38 Page4 of 48
Debtor 1    Moore, Ethel Ann                                                                                  Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
             Case:19-17168-MER Doc#:1 Filed:08/20/19                                          Entered:08/20/19 09:46:38 Page5 of 48
Debtor 1    Moore, Ethel Ann                                                                              Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
                                      Icounseling
                                           received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                             agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
             Case:19-17168-MER Doc#:1 Filed:08/20/19                                       Entered:08/20/19 09:46:38 Page6 of 48
Debtor 1    Moore, Ethel Ann                                                                                 Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after
     any exempt property is
                                   Yes.     I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                             paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses
     are paid that funds will be
                                             No
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?
                                   $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be?
                                   $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Ethel Ann Moore
                                   Ethel Ann Moore                                                    Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on      August 20, 2019                                   Executed on
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
            Case:19-17168-MER Doc#:1 Filed:08/20/19                                      Entered:08/20/19 09:46:38 Page7 of 48
Debtor 1   Moore, Ethel Ann                                                                                  Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Donald Massey                                                     Date         August 20, 2019
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Donald Massey
                                Printed name

                                Donald B Massey, P.C.
                                Firm name


                                PO Box 216
                                Grand Junction, CO 81502-0216
                                Number, Street, City, State & ZIP Code

                                Contact phone    (970) 243-4904                                 Email address

                                8395
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
              Case:19-17168-MER Doc#:1 Filed:08/20/19                                       Entered:08/20/19 09:46:38 Page8 of 48


              Fill in this information to identify your case:

 Debtor 1                 Ethel Ann Moore
                          First Name                        Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                Last Name


 United States Bankruptcy Court for the:            DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                          amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                             12/15


If you are an individual filing under chapter 7, you must fill out this form if:
creditors have claims secured by your property, or
you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's         NOVAD Management Consulting                         Surrender the property.                                   No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation       Yes
    Description of       2819 Acrin Ave, Grand                               Agreement.
    property             Junction, CO 81503-3272                          Retain the property and [explain]:
    securing debt:                                                         Retain and pay pursuant to contract

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                                Will the lease be assumed?

 Lessor's name:               NOVAD Management Consulting                                                                           No

                                                                                                                                  Yes
 Description of leased        Reverse Mortgage
 Property:



 Part 3:        Sign Below

Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                             page 1

Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case:19-17168-MER Doc#:1 Filed:08/20/19                                        Entered:08/20/19 09:46:38 Page9 of 48


 Debtor 1     Moore, Ethel Ann                                                                      Case number (if known)



Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Ethel Ann Moore                                                        X
       Ethel Ann Moore                                                                Signature of Debtor 2
       Signature of Debtor 1

       Date        August 20, 2019                                                Date




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                           page 2

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                          Entered:08/20/19 09:46:38 Page10 of 48




            Fill in this information to identify your case:

 Debtor 1                 Ethel Ann Moore
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                            lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income               Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                   exclusions)                                                   and exclusions)

 From January 1 of current year until            Wages, commissions,                           $6,211.81         Wages, commissions,
 the date you filed for bankruptcy:                                                                              bonuses, tips
                                                 bonuses, tips
                                                  Operating a business                                           Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                          Entered:08/20/19 09:46:38 Page11 of 48
 Debtor 1     Moore, Ethel Ann                                                                            Case number (if known)



                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income                  Sources of income             Gross income
                                                  Check all that apply.            (before deductions and        Check all that apply.         (before deductions
                                                                                   exclusions)                                                 and exclusions)

 For last calendar year:                          Wages, commissions,                          $8,016.00         Wages, commissions,
 (January 1 to December 31, 2018 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

 For the calendar year before that:               Wages, commissions,                          $8,422.00         Wages, commissions,
 (January 1 to December 31, 2017 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income from             Sources of income             Gross income
                                                  Describe below.                  each source                   Describe below.               (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)
 From January 1 of current year until             Social Security                             $11,166.40
 the date you filed for bankruptcy:

 For last calendar year:                          Social Security                             $19,142.40
 (January 1 to December 31, 2018 )

 For the calendar year before that:               Social Security                             $19,140.00
 (January 1 to December 31, 2017 )


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.      Go to line 7.
                     Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                          Entered:08/20/19 09:46:38 Page12 of 48
 Debtor 1     Moore, Ethel Ann                                                                            Case number (if known)



       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe
       Bank Of America                                       04/21/19 $439.00                   $943.00          $21,768.00         Mortgage
       PO Box 982234                                         05/22/19 $504.00                                                       Car
       El Paso, TX 79998-2234                                                                                                      Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       Chase                                                 04/21/19 $408                      $902.00          $22,444.00         Mortgage
       PO Box 15298                                          05/22/19 $494                                                          Car
       Wilmington, DE 19850-5298                                                                                                   Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       First National Bank of Omaha                          04/06/19 $1200                   $1,235.00              $810.00        Mortgage
       PO Box 2557                                           05/05/19 $35                                                           Car
       Omaha, NE 68103-2557                                                                                                        Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                            Nature of the case           Court or agency                          Status of the case
       Case number




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                           Entered:08/20/19 09:46:38 Page13 of 48
 Debtor 1     Moore, Ethel Ann                                                                             Case number (if known)



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                               Describe the Property                                         Date                   Value of the
                                                                                                                                                       property
                                                               Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                               Describe the action the creditor took                         Date action was            Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave               Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                    Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                     Date of your      Value of property
       how the loss occurred                                                                                                 loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or         Amount of
       Address                                                        transferred                                            transfer was             payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                           Entered:08/20/19 09:46:38 Page14 of 48
 Debtor 1      Moore, Ethel Ann                                                                            Case number (if known)



       Person Who Was Paid                                          Description and value of any property                    Date payment or            Amount of
       Address                                                      transferred                                              transfer was                payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Donald B Massey, P.C.                                                                                                 07/25/19                  $1,500.00
       PO Box 216
       Grand Junction, CO 81502-0216


       The Mesquite Group Inc                                                                                                07/30/19                      $24.00
       PO Box 54006
       Hurst, TX 76054-4006


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                    Date payment or            Amount of
       Address                                                      transferred                                              transfer was                payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
       Address                                                      property transferred                       payments received or debts      made
                                                                                                               paid in exchange
       Person's relationship to you
       Mesa Jewelers                                                Sale of Jewelry                             $10,000.                       04/02/19
       444 Main St
       Grand Junction, CO 81501-2512

       None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was        Last balance before
       Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,            closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                               Entered:08/20/19 09:46:38 Page15 of 48
 Debtor 1      Moore, Ethel Ann                                                                                Case number (if known)



       Name of Financial Institution and                      Last 4 digits of               Type of account or            Date account was    Last balance before
       Address (Number, Street, City, State and ZIP           account number                 instrument                    closed, sold,        closing or transfer
       Code)                                                                                                               moved, or
                                                                                                                           transferred
       Bank Of The West Goldline                              XXXX-1875                      Checking                     03/07/19                         $0.00
       2452 Patterson Road                                                                    Savings
       Grand Junction, CO 81505
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?                 Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                          have it?
                                                                    and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access                 Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                        have it?
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                     Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                 Governmental unit                              Environmental law, if you      Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                    ZIP Code)




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6

Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case:19-17168-MER Doc#:1 Filed:08/20/19                                            Entered:08/20/19 09:46:38 Page16 of 48
 Debtor 1      Moore, Ethel Ann                                                                               Case number (if known)



25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
        Name of site                                               Governmental unit                              Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
        Case Title                                                 Court or agency                            Nature of the case                    Status of the
        Case Number                                                Name                                                                             case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                         Describe the nature of the business                  Employer Identification number
        Address                                                                                                    Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                   Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                  Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Ethel Ann Moore
 Ethel Ann Moore                                                       Signature of Debtor 2
 Signature of Debtor 1

 Date      August 20, 2019                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                                          Entered:08/20/19 09:46:38 Page17 of 48

              Fill in this information to identify your case:

 Debtor 1                   Ethel Ann Moore
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             269,680.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              12,558.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             282,238.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $             221,534.96

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $              46,312.00


                                                                                                                                     Your total liabilities $                   267,846.96


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                2,348.64

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,064.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.

 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
         Case:19-17168-MER Doc#:1 Filed:08/20/19                                       Entered:08/20/19 09:46:38 Page18 of 48
 Debtor 1     Moore, Ethel Ann                                                               Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                           $   656.42


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $              0.00

       9d. Student loans. (Copy line 6f.)                                                                  $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$              0.00


       9g. Total. Add lines 9a through 9f.                                                            $                 0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information           page 2 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                                        Entered:08/20/19 09:46:38 Page19 of 48

               Fill in this information to identify your case and this filing:

 Debtor 1                    Ethel Ann Moore
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     DISTRICT OF COLORADO, DENVER DIVISION

 Case number                                                                                                                                                 Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply
        Buriel Plot-Orchard Mesa Cemetary                                          Single-family home                         Do not deduct secured claims or exemptions. Put
        Block A, Row 5, Lot 7, Grave 58                                                                                        the amount of any secured claims on Schedule D:
        Street address, if available, or other description
                                                                                   Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property .
                                                                                   Condominium or cooperative

                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Grand Junction                    CO        81503                          Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                                  $1,310.00                   $1,310.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other         Buriel Plot                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.

                                                                               Debtor 1 only                                  Fee Simple
                                                                                   Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            Burial Plot 2620 B 3/4 Rd, Grand Junction, CO 81503




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case:19-17168-MER Doc#:1 Filed:08/20/19                                                       Entered:08/20/19 09:46:38 Page20 of 48
 Debtor 1          Moore, Ethel Ann                                                                                     Case number (if known)

        If you own or have more than one, list here:
 1.2                                                                     What is the property? Check all that apply


        2819 Acrin Ave
                                                                             Single-family home                               Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                  Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                  Condominium or cooperative
                                                                            
                                                                                 Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Grand Junction                   CO         81503-3272                   Land                                         entire property?           portion you own?
        City                             State           ZIP Code                Investment property                                $268,370.00                 $268,370.00
                                                                                 Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                 Other                                        (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one        a life estate), if known.
                                                                                 Debtor 1 only                                Fee Simple
                                                                                 Debtor 2 only
        County                                                                   Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                             At least one of the debtors and another             (see instructions)
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $269,680.00


 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1     Make:                                                     Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
          Model:                                                    Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
          Year:                                                      Debtor 2 only                                            Current value of the       Current value of the
          Approximate mileage:                                       Debtor 1 and Debtor 2 only                               entire property?           portion you own?
          Other information:                                         At least one of the debtors and another
         2012 Buick Lacross SD in Fair
         Condition with #28,897 miles                                Check if this is community property                              $10,000.00                  $10,000.00
                                                                       (see instructions)
         F/C


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                         $10,000.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                      Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

Official Form 106A/B                                                         Schedule A/B: Property                                                                         page 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
         Case:19-17168-MER Doc#:1 Filed:08/20/19                                       Entered:08/20/19 09:46:38 Page21 of 48
 Debtor 1       Moore, Ethel Ann                                                                        Case number (if known)

6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Bed, Dresser, Table, Chair, Couch, Lamp, Stove, Refrigerator,
                                   Freezer, Washer/Dryer, Kitchen Appliance, Dishes, Pots/Pans,
                                   Utensil, Cutlery/Knives/Flatware, Linen/Bedding, Exercise Bike,
                                   Phone, Lawn Mower, Yard Tools, Hand Tools, and misc items                                                            $900.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                   TV, Radio, Compter, and Printer                                                                                       $58.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.    Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.    Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.     Describe.....
                                   Misc. Wearing Apparel                                                                                             $1,500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.    Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
    Yes.     Describe.....
                                   Domestic Pet dog                                                                                                   unknown


14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.    Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                $2,458.00


 Part 4: Describe Your Financial Assets


Official Form 106A/B                                           Schedule A/B: Property                                                                       page 3
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case:19-17168-MER Doc#:1 Filed:08/20/19                                                                           Entered:08/20/19 09:46:38 Page22 of 48
 Debtor 1          Moore, Ethel Ann                                                                                                  Case number (if known)

 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                              17.1.       Checking Account                       Bank of the West                                                             $50.00



                                              17.2.       Savings Account                        Bank of the West                                                             $50.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                                % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                              Type of account:                                   Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                                                 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............                Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............                Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.       Give specific information about them...

Official Form 106A/B                                                                     Schedule A/B: Property                                                                 page 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case:19-17168-MER Doc#:1 Filed:08/20/19                                                       Entered:08/20/19 09:46:38 Page23 of 48
 Debtor 1        Moore, Ethel Ann                                                                                           Case number (if known)


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                                            Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                               Surrender or refund
                                                                                                                                                            value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................              $100.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.


Official Form 106A/B                                                        Schedule A/B: Property                                                                           page 5
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                                               Entered:08/20/19 09:46:38 Page24 of 48
 Debtor 1         Moore, Ethel Ann                                                                                                      Case number (if known)

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.



 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $269,680.00
 56. Part 2: Total vehicles, line 5                                                                           $10,000.00
 57. Part 3: Total personal and household items, line 15                                                       $2,458.00
 58. Part 4: Total financial assets, line 36                                                                     $100.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $12,558.00              Copy personal property total       $12,558.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $282,238.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                     page 6
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                              Entered:08/20/19 09:46:38 Page25 of 48

              Fill in this information to identify your case:

 Debtor 1                 Ethel Ann Moore
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

      Buriel Plot-Orchard Mesa Cemetary                               $1,310.00                                                  Colo. Rev. Stat. §
      Block A, Row 5, Lot 7, Grave 58                                                                                             13-54-102(1)(d)
      Grand Junction CO, 81503                                                               100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                             any applicable statutory limit


                                                                   $268,370.00                                                   Colo. Rev. Stat. §
      2819 Acrin Ave                                                                                                              38-41-201(1)(b)
      Grand Junction CO, 81503-3272                                                          100% of fair market value, up to
      Line from Schedule A/B: 1.2                                                             any applicable statutory limit


      2012 Buick Lacross SD in Fair                                                                                               Colo. Rev. Stat. §
      Condition with #28,897 miles F/C
                                                                    $10,000.00                                   $10,000.00
                                                                                                                                  13-54-102(1)(j)(II)
      Line from Schedule A/B: 3.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      Bed, Dresser, Table, Chair, Couch,                                                                                          Colo. Rev. Stat. §
      Lamp, Stove, Refrigerator, Freezer,
                                                                          $900.00                                    $900.00
                                                                                                                                  13-54-102(1)(e)
      Washer/Dryer, Kitchen Appliance,                                                       100% of fair market value, up to
      Dishes, Pots/Pans, Utensil,                                                             any applicable statutory limit
      Cutlery/Knives/Flatware,
      Linen/Bedding, Exercise Bike,
      Phone, Lawn Mower, Yard Tools,
      Hand Tools, and misc items
      Line from Schedule A/B: 6.1




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
         Case:19-17168-MER Doc#:1 Filed:08/20/19                                          Entered:08/20/19 09:46:38 Page26 of 48

     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     TV, Radio, Compter, and Printer                                                                                        Colo. Rev. Stat. §
     Line from Schedule A/B: 7.1
                                                                       $58.00                                   $58.00
                                                                                                                            13-54-102(1)(e)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Misc. Wearing Apparel                                                                                                  Colo. Rev. Stat. §
     Line from Schedule A/B: 11.1
                                                                   $1,500.00                                 $1,500.00
                                                                                                                            13-54-102(1)(a)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
Case:19-17168-MER Doc#:1 Filed:08/20/19           Entered:08/20/19 09:46:38 Page27 of 48




                SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                              Continuation Sheet -- Page 1 of 1


            The exemptions claimed herein are based upon estimated value of the assets
    listed on Schedules A and B. In the event it is determined that any asset on Schedule
    A or B is worth more than the amount listed, Debtor(s) reserves the right to amend
    the exemption(s) up to the maximum allowed.
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                                Entered:08/20/19 09:46:38 Page28 of 48

              Fill in this information to identify your case:

 Debtor 1                   Ethel Ann Moore
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         NOVAD Management
 2.1                                              Describe the property that secures the claim:               $221,534.96              $268,370.00                      $0.00
         Consulting
         Creditor's Name
                                                  2819 Acrin Ave, Grand Junction,
                                                  CO 81503-3272
         2401 NW 23rd St Ste 1A1                  As of the date you file, the claim is: Check all that
         Oklahoma City, OK                        apply.
         73107-2448                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a               Other (including a right to offset)     Reverse Moertgage
       community debt

 Date debt was incurred                                    Last 4 digits of account number



 Add the dollar value of your entries in Column A on this page. Write that number here:                              $221,534.96
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                             $221,534.96

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                                  Entered:08/20/19 09:46:38 Page29 of 48

      Fill in this information to identify your case:

 Debtor 1                   Ethel Ann Moore
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim          Priority              Nonpriority
                                                                                                                                            amount                amount
 2.1          Colorado Dept. of Revenue                            Last 4 digits of account number                           unknown                     $0.00                  $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              1375 Sherman St Rm 504
              Denver, CO 80261-3000
              Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes                                                                           Potential Liability




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com                                                           G29381
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                                Entered:08/20/19 09:46:38 Page30 of 48
 Debtor 1 Moore, Ethel Ann                                                                                Case number (if known)

 2.2        Internal Revenue Service                              Last 4 digits of account number                           unknown                      $0.00                 $0.00
            Priority Creditor's Name
            Centralized Insolvency                                When was the debt incurred?
            Operations
            PO Box 7346
            Philadelphia, PA 19101-7346
            Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes                                                                          Potential Liability


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        Bank of America                                          Last 4 digits of account number         0609                                                     $22,425.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             1996-10
            4909 Savarese Cir
            Tampa, FL 33634-2413
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Revolving account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                              Entered:08/20/19 09:46:38 Page31 of 48
 Debtor 1 Moore, Ethel Ann                                                                              Case number (if known)

 4.2       Chase Card Services                                    Last 4 digits of account number         2475                                              $23,035.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                       When was the debt incurred?             2006-08
           PO Box 15298
           Wilmington, DE 19850-5298
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims
           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify       Revolving account


 4.3       First National Bank                                    Last 4 digits of account number         3051                                                $852.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                       When was the debt incurred?             2018-11
           1620 Dodge St # MSC 4440
           Omaha, NE 68197-0003
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify       Revolving account

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                            Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 982238                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998-2238
                                                            Last 4 digits of account number                    0609
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 FNB Omaha                                                  Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 3412                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Omaha, NE 68103
                                                            Last 4 digits of account number                    3051
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 JPMCB Card                                                 Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 15298                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5298
                                                            Last 4 digits of account number                    2475
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                              Entered:08/20/19 09:46:38 Page32 of 48
 Debtor 1 Moore, Ethel Ann                                                                                Case number (if known)

 US Attorney                                                 Line 2.1 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1801 California St Ste 1600                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-2628
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                         Line 2.2 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave. NW                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Dept. Of Justice - Tax Divisions
 Washington, DC 20530-0001
                                                             Last 4 digits of account number


 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                         0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                         0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  46,312.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  46,312.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 4 of 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case:19-17168-MER Doc#:1 Filed:08/20/19                                    Entered:08/20/19 09:46:38 Page33 of 48

              Fill in this information to identify your case:

 Debtor 1                 Ethel Ann Moore
                          First Name                         Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      NOVAD Management Consulting                                               Reverse Mortgage
              2401 NW 23rd St Ste 1A1
              Oklahoma City, OK 73107-2448




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                      Entered:08/20/19 09:46:38 Page34 of 48

              Fill in this information to identify your case:

 Debtor 1                   Ethel Ann Moore
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case:19-17168-MER Doc#:1 Filed:08/20/19                                    Entered:08/20/19 09:46:38 Page35 of 48



Fill in this information to identify your case:

Debtor 1                      Ethel Ann Moore

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF COLORADO, DENVER DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation              Janitorial
       Include part-time, seasonal, or
       self-employed work.                                           Service Master Commercial
                                             Employer's name         Cleaning
       Occupation may include student or
       homemaker, if it applies.         Employer's address
                                                                     1801 Interstate 70 Bus
                                                                     Grand Junction, CO 81501

                                             How long employed there?           8 years and 6 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $           753.44      $               N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $        753.44             $         N/A




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
        Case:19-17168-MER Doc#:1 Filed:08/20/19                                   Entered:08/20/19 09:46:38 Page36 of 48


Debtor 1    Moore, Ethel Ann                                                                        Case number (if known)



                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $        753.44         $              N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                    5a.        $              0.00     $               N/A
      5b.   Mandatory contributions for retirement plans                                     5b.        $              0.00     $               N/A
      5c.   Voluntary contributions for retirement plans                                     5c.        $              0.00     $               N/A
      5d.   Required repayments of retirement fund loans                                     5d.        $              0.00     $               N/A
      5e.   Insurance                                                                        5e.        $              0.00     $               N/A
      5f.   Domestic support obligations                                                     5f.        $              0.00     $               N/A
      5g.   Union dues                                                                       5g.        $              0.00     $               N/A
      5h.   Other deductions. Specify:                                                       5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $            753.44         $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                             8b.        $              0.00     $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $          0.00         $               N/A
      8d. Unemployment compensation                                                          8d.        $          0.00         $               N/A
      8e.    Social Security                                                                 8e.        $      1,595.20         $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $                 N/A
      8g. Pension or retirement income                                                       8g. $                     0.00   $                 N/A
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $          1,595.20         $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            2,348.64 + $             N/A = $           2,348.64
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $          2,348.64
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
     Yes. Explain: Debtor works flexiable hours for employer, which can change at a moment. Medicare and Social
                              Secuirity deducted from wages.




Official Form 106I                                                      Schedule I: Your Income                                                         page 2
      Case:19-17168-MER Doc#:1 Filed:08/20/19                                           Entered:08/20/19 09:46:38 Page37 of 48



Fill in this information to identify your case:

Debtor 1              Ethel Ann Moore                                                                        Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:    DISTRICT OF COLORADO, DENVER DIVISION                                     MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?             No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’  s relationship to        Dependent’
                                                                                                                                 s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include
      expenses of people other than
                                                No
      yourself and your dependents?              Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                             0.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                        65.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                        39.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                        50.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                        20.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                         0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
      Case:19-17168-MER Doc#:1 Filed:08/20/19                                            Entered:08/20/19 09:46:38 Page38 of 48


Debtor 1     Moore, Ethel Ann                                                                          Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              118.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                52.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              200.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              600.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                               16.00
10.   Personal care products and services                                                      10. $                                                52.00
11.   Medical and dental expenses                                                              11. $                                               220.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               100.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                20.00
14.   Charitable contributions and religious donations                                         14. $                                                75.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                               188.00
      15c. Vehicle insurance                                                                  15c. $                                                46.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:        Home Furnishings                                                  21. +$                                                28.00
      Lawn/Garden Care                                                                              +$                                               65.00
      Magazines/Book Subscriptions                                                                  +$                                               20.00
      Pet Care                                                                                      +$                                               80.00
      Postage                                                                                       +$                                               10.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       2,064.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       2,064.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               2,348.64
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              2,064.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 284.64

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
          Case:19-17168-MER Doc#:1 Filed:08/20/19                              Entered:08/20/19 09:46:38 Page39 of 48




      Fill in this information to identify your case:

Debtor 1                    Ethel Ann Moore
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:       DISTRICT OF COLORADO, DENVER DIVISION

Case number
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Ethel Ann Moore                                               X
             Ethel Ann Moore                                                   Signature of Debtor 2
             Signature of Debtor 1

             Date       August 20, 2019                                        Date
            Case:19-17168-MER Doc#:1 Filed:08/20/19                                 Entered:08/20/19 09:46:38 Page40 of 48
B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                            District of Colorado, Denver Division
 In re       Moore, Ethel Ann                                                                                Case No.
                                                                             Debtor(s)                       Chapter      7

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                    1,500.00
             Prior to the filing of this statement I have received                                       $                    1,500.00
             Balance Due                                                                                 $                        0.00

2.     The source of the compensation paid to me was:
                    Debtor        Other (specify):

3.     The source of compensation to be paid to me is:
                    Debtor        Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               (a) $335 filing fee chapter 7
               (b) Amendments to the Petition and Schedules
               (c) Negotiating or defending objections which are filed or threatened to be filed as to the dischargeability of a
               debt, objections to discharge, objections to exempt property and Motions for Relief From Stay
               (d) Out of pocket expenses incurred including long distance phone calls, postage or trips to the Bankruptcy
               Court in Denver, after filing
               (e) Reaffirmation Agreements, filing Proof of Claims, Motions to Void Liens, Motions to Abandonment
               (f) Any adversary proceeding or other Motions filed with the Bankruptcy Court
               (g) Collection of sums due to the Trustee or providing additional information to the Trustee
               (h) Transactions with taxing entities over taxes due and payments thereof and liens
               (i) Redemption proceedings or negotiations of the same
               (j) Correspondence to creditors and preparation of Notice of Automatic Stay, after filing
               (k) Rule 2001 Examinations
               (l) Obtain continuance of Section 341 Meeting of Creditors
               (m) Answers to and defending Relief From Stays
               (n) Any Trustee Audits
               (o) Any fees incurred for debtor credit counseling pre and post petition.




Software Copyright (c) 2019 CINGroup - www.cincompass.com
         Case:19-17168-MER Doc#:1 Filed:08/20/19                                  Entered:08/20/19 09:46:38 Page41 of 48

 In re       Moore, Ethel Ann                                                                       Case No.
                                                            Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 20, 2019                                                         /s/ Donald Massey
     Date                                                                    Donald Massey
                                                                             Signature of Attorney
                                                                             Donald B Massey, P.C.

                                                                             PO Box 216
                                                                             Grand Junction, CO 81502-0216
                                                                             (970) 243-4904 Fax: (970) 243-4906
                                                                             Name of law firm




Software Copyright (c) 2019 CINGroup - www.cincompass.com
Case:19-17168-MER Doc#:1 Filed:08/20/19   Entered:08/20/19 09:46:38 Page42 of 48




      Bank of America
      4909 Savarese Cir
      Tampa, FL 33634-2413


      Bank of America
      PO Box 982238
      El Paso, TX 79998-2238


      Chase Card Services
      Attn: Bankruptcy
      PO Box 15298
      Wilmington, DE 19850-5298


      Colorado Dept. of Revenue
      1375 Sherman St Rm 504
      Denver, CO 80261-3000


      First National Bank
      Attn: Bankruptcy
      1620 Dodge St # MSC 4440
      Omaha, NE 68197-0003


      FNB Omaha
      PO Box 3412
      Omaha, NE 68103


      Internal Revenue Service
      Centralized Insolvency Operations
      PO Box 7346
      Philadelphia, PA 19101-7346
Case:19-17168-MER Doc#:1 Filed:08/20/19   Entered:08/20/19 09:46:38 Page43 of 48




      JPMCB Card
      PO Box 15298
      Wilmington, DE     19850-5298


      NOVAD Management Consulting
      2401 NW 23rd St Ste 1A1
      Oklahoma City, OK 73107-2448


      US Attorney
      1801 California St Ste 1600
      Denver, CO 80202-2628


      US Attorney General
      950 Pennsylvania Ave. NW
      Dept. Of Justice - Tax Divisions
      Washington, DC 20530-0001
Case:19-17168-MER Doc#:1 Filed:08/20/19                  Entered:08/20/19 09:46:38 Page44 of 48




                                                    Certificate Number: I I 546-CO-CC-033 I 8 I 645

                                                  ilil illlt ililililt   Iil   ililil   ililll]ll il illlil ililililt il ]t
                                                                                   I il I
                                                                          I I 546-CO-CC-O33 18 1645




                        CnnrrrICATE OF CouwsELrNc

   I CERTIFY that on             30 2019 at 12:57 o'clock PM CDT. Ethel Ann Moore
   received from The Mesquite Group. Inc., an agency approved pursuant to 11
   U.S.C. 111 to provide credit counseling in the District of Colorado, an individual
   [or group] briefing that complied with the provisions of 11 U.S.C. 109(h) and
   111.

   A debt repayment plan was not prepared. If            a debt repayment plan was prepared, a
   copy of the debt repayment plan is attached to this certificate.

   This counseling session was conducted by internet.




   Date:   Julv 30. 2019                           By:         /sÆarrie Doucet                 Heather Walrath


                                                   Name: Heather Walrath


                                                   Title:      Counselor




   * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
   Code are required to file with the United States Bankruptcy Court a completed certificate of
   counseling from the nonprofit budget and credit counseling agency that provided the individual
   the counseling services and a copy of the debt repayment plan, if any, developed through the
   credit counseling agency. See ll U.S.C. 109(h) and 521(b).
 SERVICEMASTER COMMERCIAL CLEANING
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                                            Entered:08/20/19 09:46:38 Page45 of 4812644
                 2819 Acrin Avenue,
                                                                                                      Pay Per¡od: 06t2712A19 - O7t1O!2019                     Pay Date: 0711112019
           and                                                                   YTD                                               +
Travel Time                           1:2O     10.00                 13.33            170.1s
Hourly Rêgular Rate                                                      0.00          15.00
                                      9:20                          413.33          5,385.15

Taxeg                                                              Current       YTD Amount
Medicare Employee Addl Tax                                            0.00
Federal Withholding                                                   0.00
Social Security Employee                                            -25.63             -333.88
Med¡care Employee                                                    -5.99              -78.08
CO Withholding                                                        0.00
                                                                    -31.62             -41 1.96

Net Pay                                                             381.71          4,973.1 9




Serv¡ceMaster Commercial Cleaning, 1801 170 Business Loop, Suite C1, Grand Junction, CO 81S01, pRP2 tNC.                                                      Powered by   Intuit Poyroll


  SERVICEMASTER COMMERCIAL CLEANING                                                                                                                                                12659
 EmDlovee                                                                                               ssN                   Status (Fed/State)               AllowancelExtra
 Ethel A. Moore, 2819 Acrin Avenue, Grand Junct¡on, CO 81503                                                                  Don't Withhold/Don't Withhold    Fed-1/o/CO-1/0
                                                                                                                                             I
                                                                                                        Pay Period: 07 I 1 1 12019 - 07 1241201                Pay Date: 0712512019
 Eamings and     Hours                Hours Rate Cunent                           YïD Amount
 Elam/Day Rate                         8:00      50.00               400.00            5,600.00
 Travel T¡me                           1:20      10.00                13.33              183.48
 Hourly Regular Rate                                                   0.00               15.00
                                       9:20                          413.33            5,798.48

 TaÍes                                                              Cunent        YTD Amount
 Medicare Employee Addl T€x                                             0.00
 Federal W¡thhold¡ng                                                    0.00
 Social Security Employee                                             -25.63            -3s9.51
 Medicare Employee                                                     -6.00             -84.08
 CO Wthholding                                                          0.00
                                                                      -31.63            443.59

 Net Pay                                                             381.70            5,354.89




 ServiceMaster Commercial Clean¡ng, 1801 170 Business Loop, Suite C1 , Grand Juncl¡on, CO 81501 , PRP2 lNC.                                                     Powered by   Intuit Poyroll



 SERVICEMASTER COMMERCIAL CLEANING                                                                                                                                                 12675
 Emolovee                                                                                               ssN                Status (Fed/State)                 Allowanceg/Elra
                                                              ,l
 Ethel A. Moore, 281 9 Acrin Avenue, Grand Junction, CO   8        503                                                                                        F€d-1/0/CO-l/0
                                                                                                        Pay Period: 0712512A19 - 08107120'19                   Pay Date: 08/08/2019
 Eamings and     Hours                Hours Rate                    Cunent       YïD Amount
 Elam/Day Rate                         8:00     50.00                400.00            6,000.00
 Travel Time                           1:20     10.00                 13.33              196.81
 Hourly Regular Rate                                                      0.00            J5.00
                                       9:20                          413.33            6,211 .81

 Taxes                                                              Cunent       YfDAmount
 Medicare Employee Addl Tax                                            0.00
 Fedêral Withholding                                                   0.00
 Social Security Êmployee                                            -25.62             -385.1 3
 Medicare Employee                                                    -5.99              -90.07
 CO Withholding                                                           0.00
                                                                     -31.6'l            475.20

 Net P?y                                                                               5,736.61


                                                                   E      ö0,óo\_)                o      t*t t:lç
                                                                    "9     ll ^ U* t^,,                      ei  atl
                                                                    .t ll                                Cø-x Sqcl   3oo
                                                                                 ^r-l_s/ r¿S <?h Q>y 7r¿
                                                                                                   tt
                                                                                                                       \
 ServiceMaster Commercial Cleaning, 1801 170 Business Loop, Suite C1, Grand Junclion,                    co   81501 , PR,Pz tNC.                                Powered by   Intuit Poyroll
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                       Entered:08/20/19 09:46:38 Page46 of 48

SERVICEMASTER COMMERClAL CLEANING                                                                                                            12574

Ethel A.                          Grand
                                                                                     Pay Period: 0510212019 - 0511512019   Pay Date: 0511612019


         Rate
Travel                              1:20      10.00        13.33          118.49
Hourly Regular Rate


Taxes                                                    Curre.n!   YTD Amount
                    Tax
Me¡ìcare ernÞlovee Addl                                     o'oo
Federal Withholding                                         0.00
Social Security Employee                                  -26.56          -234.58
Medicare Employee                                          -6.21            -54 86

                                                          #-----ñã
Net   Pay                                                 395.56         3'494.05




SERVICEMASTER COMMERCIAL CLEANING                                                                                                             12590

               2819
                                                                                     Pay Period: 0511612019 - 0512912019   Pay Date:05/30/2019

                                               50.00      350.
Travel ïime                          1:10      10.00        11.67          130.16
Hourly Regular Rate



                                                             0.00
Federal Withholding                                          0.00
Social Security Employee                                   -22.42         -2s7.00
Medicâre Employee                                           -5.24           -60.10
CO Withholdjng                                               0.00
                                                           -27.66         -317.10

Net Pay                                                   334.01         3,828.06




SERVICEMASTER COMMERCIAL CLEANING                                                                                                             12606

               281 9              Grand
                                                                                     Pay Period: 0513012019 - 0611212019   Pay Date:06/13i2019



Travel T¡me                          1'.20    10.00        13_33           143.49
Hourly Regular Rate                                         0.00            15.00




                                                             0.00
Federal                                                      0.00
Social Security EmPloyee                                   -25.63         -282.63
                                                            -6.00           -66.10
Medicare Employee
CO Withholding                                               0.00
                                                           -31.63         -34E.73


Net Pay                                                   381.70         4,209,76




                                                                                          81501, PRP2 INC'                  Powered by   Intuit PoYroll
 ServiceMaster Commercial Cleaning, 1801 170 Bus¡ness Loop, Suite C1 , Grand Junction, CO
           Case:19-17168-MER Doc#:1 Filed:08/20/19                                         Entered:08/20/19 09:46:38 Page47 of 48


 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Ethel Ann Moore
 Debtor 2
 (Spouse, if filing)
                                                                                                      1. There is no presumption of abuse
 United States Bankruptcy Court for the:          District of Colorado, Denver Division
                                                                                                       2. The calculation to determine if a presumption of abuse
                                                                                                             applies will be made underChapter 7 Means Test
                                                                                                             Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                       3. The Means Test does not apply now because of qualified
                                                                                                             military service but it could apply later.
                                                                                                        Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
        Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                  apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                      $                    656.42       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                    $                       0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $                       0.00      $
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                        -$    0.00
        Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                     0.00      $
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                        -$    0.00
        Net monthly income from rental or other real property            $     0.00 Copy here -> $                     0.00      $
                                                                                                        $              0.00      $
  7. Interest, dividends, and royalties




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case:19-17168-MER Doc#:1 Filed:08/20/19                                       Entered:08/20/19 09:46:38 Page48 of 48

 Debtor 1     Moore, Ethel Ann                                                                           Case number (if known)



                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
  8. Unemployment compensation                                                                       $                 0.00       $
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                                   $                   0.00
            For your spouse                                           $
  9. Pension or retirement income. Do not include any amount received that was a benefit
      under the Social Security Act.                                                             $                     0.00       $
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act or payments received as
      a victim of a war crime, a crime against humanity, or international or domestic terrorism.
      If necessary, list other sources on a separate page and put the total below.
              .                                                                                  $                     0.00       $
                                                                                                     $                 0.00       $
                  Total amounts from separate pages, if any.                                     +   $                 0.00       $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $       656.42           +   $                  =    $         656.42

                                                                                                                                                  Total current monthly
                                                                                                                                                  income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                Copy line 11 here=>            $            656.42

              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                                  12b. $           7,877.04

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                   CO

       Fill in the number of people in your household.                         1
       Fill in the median family income for your state and size of household.                                                    13.          $        62,495.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                   ’
       form. This list may also be available at the bankruptcy clerk
                                                                   s office.

  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                 There is no presumption of abuse.
                      Go to Part 3.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Ethel Ann Moore
                Ethel Ann Moore
                Signature of Debtor 1
        Date August 20, 2019
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
